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MANDATE
                            UNITED STATES COURT OF APPEALS
                                       FOR THE
                                    SECOND CIRCUIT

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      21st day of March, two thousand twenty-two.

      Before:     Michael H. Park,
                        Circuit Judge,
      ________________________________
                                                                       ORDER

       IN RE PAYMENT CARD INTERCHANGE FEE AND                          Docket No. 20-304
       MERCHANT DISCOUNT ANTITRUST LITIGATION
       ________________________________

              Objector-Appellant R & M Objectors and Rule 23(b)(3) Class Plaintiffs-Appellees
      Photos Etc. Corporation DBA ScanMyPhotos,Com; Traditions, Ltd.; Capital Audio Electronics,
      Inc.; CHS Inc.; Discount Optics, Inc.; Leon’s Transmission Service, Inc.; Parkway Corporation;
      and Payless, Inc. stipulate pursuant to Fed. R. App. P. 42(b) to dismiss the appeal docketed under
      20-304, with each party to bear its own costs, fees, and expenses.

                The stipulation is SO ORDERED.


                                                          For the Court:
                                                          Catherine O’Hagan Wolfe,
                                                          Clerk of Court




MANDATE ISSUED ON 03/21/2022
